                  Case 3:16-cv-01345-AWT Document 291-3 Filed 12/28/20 Page 1 of 3


Alex Braitberg

From:                  Alex Braitberg
Sent:                  Monday, December 21, 2020 4:07 PM
To:                    Nowak, Richard
Cc:                    Andrew Schlichter; Joel Rohlf; sbdfile; Netter, Brian; Ross, Nancy; Glickstein, Jed; Siebert, Antonia C.;
                       Webster, Michelle N.
Subject:               RE: Vellali v. Yale - Confidentiality Designations [MB-AME.FID1573516]


Rick—

Thanks for your prompt response. As the standing protective order makes clear, a good faith attempt to meet and
confer is necessary as a first step, before serving a written challenge to a confidentiality designation. For your
convenience, and so that defendants may promptly begin evaluating plaintiffs’ objections, the plaintiffs will, at this time,
challenge the following confidentiality designations made by defendants: (1) documents used as deposition exhibits in
this case, as listed in each of the deposition transcripts, and (2) documents cited by the parties’ experts in their reports,
as listed in each of those reports.

Also, counsel for plaintiffs will be calling chambers tomorrow morning at 11:00 a.m. EST regarding the status of the
pending motion for extension. Please let us know if you would like to join this call.

Best,

Alex

Alexander L. Braitberg
Schlichter Bogard & Denton LLP
100 South Fourth Street, Suite 1200
St. Louis, MO 63102
T: 314-621-6115
F: 314-621-5934




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From: Nowak, Richard <RNowak@mayerbrown.com>
Sent: Monday, December 21, 2020 1:28 PM
To: Alex Braitberg <abraitberg@uselaws.com>
Cc: Andrew Schlichter <aschlichter@uselaws.com>; Joel Rohlf <jrohlf@uselaws.com>; sbdfile <sbdfile@uselaws.com>;
Netter, Brian <BNetter@mayerbrown.com>; Ross, Nancy <NRoss@mayerbrown.com>; Glickstein, Jed
<JGlickstein@mayerbrown.com>; Siebert, Antonia C. <ASiebert@mayerbrown.com>; Webster, Michelle N.
<MWebster@mayerbrown.com>
Subject: RE: Vellali v. Yale ‐ Confidentiality Designations [MB‐AME.FID1573516]

Alex,
                                                                   1
                                                                                                                       Exhibit 3
                    Case 3:16-cv-01345-AWT Document 291-3 Filed 12/28/20 Page 2 of 3


Thank you for your email. We are happy to schedule a mutually convenient meet and confer once we understand what
plaintiffs are seeking to meet and confer about. Please identify the specific designations that plaintiffs are intending to
challenge. The provision of that information is necessary for the parties to engage in the good faith meet and confer
required by paragraph 12 of the Standing Protective Order.

Best,

Rick
____________________________
Richard E. Nowak
Partner
Mayer Brown LLP
71 South Wacker Drive
Chicago, Illinois 60606
T +1 312 701 8809 | M +1 217 721 7697
mayerbrown.com

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From: Alex Braitberg <abraitberg@uselaws.com>
Sent: Monday, December 21, 2020 10:20 AM
To: Netter, Brian <BNetter@mayerbrown.com>; Ross, Nancy <NRoss@mayerbrown.com>; Nowak, Richard
<RNowak@mayerbrown.com>; Glickstein, Jed <JGlickstein@mayerbrown.com>; Siebert, Antonia C.
<ASiebert@mayerbrown.com>; Webster, Michelle N. <MWebster@mayerbrown.com>
Cc: Andrew Schlichter <aschlichter@uselaws.com>; Joel Rohlf <jrohlf@uselaws.com>; sbdfile <sbdfile@uselaws.com>
Subject: Vellali v. Yale ‐ Confidentiality Designations

**EXTERNAL SENDER**

Counsel—

Per the standing protective order in Vellali v. Yale, Doc. 11, ¶12, please let us know your availability to meet and confer
this week regarding Defendants’ confidentiality designations.

Thanks.

Alexander L. Braitberg
Schlichter Bogard & Denton LLP
100 South Fourth Street, Suite 1200
St. Louis, MO 63102
T: 314-621-6115
F: 314-621-5934




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                                                                   2
                                                                                                                       Exhibit 3
                Case 3:16-cv-01345-AWT Document 291-3 Filed 12/28/20 Page 3 of 3

__________________________________________________________________________
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                                                                                                            Exhibit 3
